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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                HARTFORD DIVISION

In re:                                                               Chapter 11

THE NORWICH ROMAN CATHOLIC
DIOCESAN CORPORATION,
                                                                     Case No. 21-20687 (JJT)
               Debtor.


         UNITED STATES TRUSTEE’S OBJECTION TO THE THIRD INTERIM FEE
             APPLICATION OF ZEISLER & ZEISLER, P.C. AS COUNSEL TO
              THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

         William K. Harrington, the United States Trustee for Region 2 (“United States Trustee”),

through counsel, in furtherance of his duties and responsibilities set forth in 28 U.S.C. § 586(a)(3)

and (a)(5), respectfully submits this objection and statement of concerns regarding the Third

Interim Fee Application filed Zeisler & Zeisler, P.C. (“Z&Z”) as counsel to the Official

Committee of Unsecured Creditors (ECF 619) (“Z&Z Third Interim”).

                                       Preliminary Statement

         The Z&Z Third Interim seeks fees of $120,926.20 and expenses of $1,912.02 for the three-

month time period of February 1, 2022 through April 30, 2022. As discussed herein, the United

States Trustee has concerns about the cost of the objection filed by Z&Z on behalf of the Official

Committee of Unsecured Creditors (“Committee”) to the objection to the proof of claim of

Oceania Province of the Congregation of Christian Brothers F/K/A The St. Patrick’s Province of

Christian Brothers (“Oceania POC Objection”).




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                                     Procedural Background

        1.     On Thursday, July 15, 2021, The Norwich Roman Catholic Diocesan Corporation

(“Debtor”) filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (“Petition

Date”). ECF 1.

        2.     The Debtor operates and manages its affairs as a debtor-in-possession pursuant to

Sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in

this case.

        3.     The Debtor has retained the law firms of IM and R&C as its chapter 11 counsel.

ECF 272, 256, 321. Per their retention applications, Ice Miller and R&C are co-counsel to the

Debtor. Id.

        4.     The Debtor has employed B. Riley as its financial advisor. ECF 271. B. Riley is

providing accounting services, assistance with debtor reporting requirements and services relating

to monitoring cash flow. ECF 138.

        5.     On July 29, 2021, the United States Trustee appointed the Committee. ECF 90.

The Committee has employed Z&Z as its counsel (“Committee Counsel”). ECF 233.

        6.     To date, the Debtor has not filed a proposed plan and has obtained extensions of the

exclusivity period to do so. The Debtor, the Committee and other parties are currently engaged in

mediating with a Court-approved mediator with the goal of a consensual plan. ECF 752.

                                          Monthly Fees

        7.     By order dated October 18, 2021, the Court authorized a monthly compensation

process for retained professionals which allows professionals to receive 70% of requested monthly

fees (with a 30% holdback) and 100% of requested expenses by filing a monthly fee statement


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(“Monthly Compensation Order”). ECF 314. The Monthly Compensation Order provides for an

objection process. Id.

       8.       The Debtor’s professionals and the Committee Counsel have routinely filed

monthly fee requests and have been paid 70% of the fees pursuant to the Monthly Compensation

Order. See case docket. The United States Trustee has reviewed those monthly fee requests on a

regular monthly basis and has, in certain instances, raised concerns with the Debtor’s professionals

and Committee Counsel, and has requested reductions. Some of the concerns have been addressed

and resolved by consensual reductions, but others were not resolved.

                         First Interim and Second Interim Fee Applications

       9.       On November 15, 2021, Z&Z filed its first interim fee application as counsel to the

Committee (“Z&Z First Interim”). ECF 366. On that same date, the Debtor’s professionals filed

their first interim fee applications (collectively “First Interim Fee Applications”). ECF 372, 373,

374, and 375.

       10.      On December 7, 2021, the United States Trustee filed an omnibus objection to the

First Interim Fee Applications of the Debtor’s professionals (“UST First Interim Objection”). ECF

393. The United States Trustee did not object to the Z&Z First Interim. ECF 398.

       11.      On December 15, 2021, the Court held a preliminary hearing on the First Interim

Fee Applications, the Z&Z First Interim, and the UST First Interim Objection. The Court

determined that consideration of the First Interim Fee Applications, the Z&Z First Interim, and the

UST First Interim Objection would be deferred to a future date, and that the Debtor’s professionals

and Committee Counsel would be permitted to continue to request and receive monthly

compensation under the Monthly Compensation Order. ECF 415.


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       12.     On March 31, 2022, Ice Miller, LLP (“IM”), Robinson & Cole, LLP (“R&C”),

GlassRatner Advisory & Capital Group LLC d/b/a B. Riley Advisory Services (“B. Riley”), and

Brown Jacobson, the Debtor’s professionals (collectively “Debtor’s Professionals”), filed their

second interim fee applications. ECF 535, 536, 537 and 538 (collectively “Second Interim Fee

Applications”).

       13.     On April 26, 2022, the United States Trustee filed an omnibus objection to the

Second Interim Fee Applications (“UST Second Interim Objection”), excluding the fee application

of Brown Jacobson to which the United States Trustee did not object. ECF 578, ECF 576. The

Committee also objected to the second interim fee applications of IM, R&C, and B. Riley. ECF

593 (“Committee Objection”).

       14.     On March 31, 2022, Z&Z filed the Z&Z Second Interim seeking fees of

$164,287.00 and expenses of $3,955.35. ECF 539. Without taking into consideration voluntary

reductions agreed as part of monthly compensation requests (discussed infra) and based on the

total original hours billed of 472.30, Z&Z had an overall blended rate of $350.12. Id.

       15.     On April 26, 2022, the United States Trustee filed an objection to the Z&Z Second

Interim (“UST Objection to Z&Z Second Interim”). ECF 577.

       16.     The UST Objection to the Z&Z Second Interim was resolved by a $10,000.00

reduction.

       17.     After a non-evidentiary hearing held on May 16, 2022, the Court approved the First

Interim Fee Applications, Z&Z First Interim, the Second Interim Fee Applications, and the Z&Z

Second Interim. ECF 641 and 642. The UST First Interim Objection, UST Second Interim

Objection, and the Committee Objection were deferred and reserved for consideration at the time


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of the final fee applications. ECF 642 at ¶ 9.

                                   Third Interim Fee Applications

       18.     On May 16, 2022, Z&Z filed the Z&Z Third Interim seeking fees of $120,926.20

and expenses of $1,912.02 for the three-month time period of February 1, 2022 through April 30,

2022. ECF 619. Based on the total hours billed of 367, Z&Z had an overall blended rate of

$329.50. Id.

       19.     On August 4, 2022, the Debtor’s Professionals, IM, R&C, B. Riley, and Brown

Jacobson, filed their third interim fee applications seeking fees for the five-month period of

February 1, 2022 through June 30, 2022. ECF 755, 756, 757, and 758 (collectively “Third Interim

Fee Applications”).

       20.      The Court is scheduled to consider the Z&Z Third Interim and the Third Interim

Fee Applications on September 1, 2022. ECF 765 and 766.

                                       LEGAL ARGUMENT

A. Standards for Fee Applications

       Section 330 authorizes payment to professionals retained by order of the Court. 11 U.S.C

§ 330 (a). Section 330(a) allows a court to award “reasonable compensation for actual, necessary

services rendered.” 11 U.S.C. §330(a)(1)(A). Section 330(a)(1) of the Bankruptcy Code

specifically provides that:

               After notice to the parties in interest and the United States trustee and a
               hearing, and subject to sections 326, 328, and 329, the court may award to a
               trustee, … an examiner, … or a professional person employed under section
               327 or 1103 –

               (A)      reasonable compensation for actual, necessary services rendered by
                        the trustee, examiner, . . . professional person, or attorney and by any
                        paraprofessional person employed by any such person; and

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                    (B)      reimbursement for actual, necessary expenses.

11 U.S.C. § 330(a)(1)(A) and (B). In determining reasonableness, Section 330(a)(3) of the

Bankruptcy Code instructs that:

                    the court shall consider the nature, the extent, and the value of such services,
                    taking into account all relevant factors, including –

                    A.       the time spent on such services;

                    B.       the rates charged for such services;

                    C.       whether the services were necessary to the administration of, or
                             beneficial at the time at which the service was rendered toward the
                             completion of, a case under this title;

                    D.       whether the services were performed within a reasonable amount of
                             time commensurate with the complexity, importance, and nature of
                             the problem, issue, or task addressed;

                    E.       with respect to a professional person, whether the person is board
                             certified or otherwise has demonstrated skill and experience in the
                             bankruptcy field; and

                    F.       whether the compensation is reasonable based on the customary
                             compensation charged by comparably skilled practitioners in cases
                             other than cases under this title.

11 U.S.C. § 330(a)(3). 1

           Pursuant Local Rules of Bankruptcy Procedure of the United States Bankruptcy Court for

the District of Connecticut, a fee applicant, must also, consider and follow L. Bankr. R. 2016-1

and the Court’s guidelines set forth at Appendix D which require, inter alia, that a fee application


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    Bankruptcy Rule 2016 implements the standards set forth in Section 330 of the Bankruptcy Code:

           An entity seeking interim or final compensation for services, or reimbursement of necessary
           expenses, from the estate shall file with the court an application setting forth a detailed statement of
           (1) the services rendered, the time expended and expenses incurred and (2) the amounts requested.

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contain the date of the order of appointment of the counsel, the terms and conditions of

employment, the time period for the compensation request, a discussion of the status of the case,

detailed time records, and provide, inter alia, information identifying the names and hourly rates

of the professional, hours billed, and overall blended rate. See L. Bankr. R. 2016-1 and Appendix

D. Reimbursement of expenses requires itemization as to purpose, amount, dated incurred and

supporting documentation. Id. Lastly, when preparing a fee application, counsel must also

consider and follow the United States Trustee Fee Guidelines. See Appendix A to 28 C.F.R. § 58.

        Section 330 requires the applicant to establish both reasonableness and benefit to the estate

from the professional’s services. In re Lederman Enter., Inc., 997 F.2d 1321, 1323 (10th Cir.

1993). To be compensable, the professional’s services must have been necessary and beneficial to

the estate or its creditors. In re Engel, 124 F.3d 567, 573 (3d Cir. 1997).

        Each applicant bears the burden of proving the reasonableness of its fees and expenses

sought. Zeisler & Zeisler, P.C. v. Prudential Ins. Co. (In re JLM, Inc.), 210 B.R. 19, 24 (2d Cir.

B.A.P. 1997); In re Northwest Airlines Corp., 382 B.R. 632, 645 (Bankr. S.D.N.Y. 2008)

(citations omitted); In re Keene Corp., 205 B.R. 690, 695 (Bankr. S.D.N.Y. 1997). To satisfy its

burden, an applicant must justify its charges with detailed, specific, itemized documentation. In re

Baker, 374 B.R. 489, 494 (Bankr. E.D.N.Y. 2007); In re Bennett Funding Group, 213 B.R. 234,

244 (Bankr. N.D.N.Y. 1997). This burden also requires the applicant to “demonstrate – not just

recite – that the fees sought are reasonable, necessary and of benefit to the estate.” In re

Fibermark, Inc., 349 B.R. 385, 395 (Bankr. D. Vt. 2006).




Fed. R. Bankr. P. 2016(a).
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       If an applicant fails to sustain its burden on reasonableness, a court may properly deny the

application for compensation. In re Beverly Mfg. Corp., 841 F.2d 365, 371 (11th Cir. 1988).

Similarly, a court may reduce a professional’s fees or expenses when they are disproportionate to

the benefit to the estate, even if it already has approved the professional’s retention under Sections

327 and 328 of the Bankruptcy Code. In re Taxman Clothing Co., 49 F.3d 310, 316 (7th Cir.

1995); Zolfo, Cooper & Co. v. Sunbeam-Oster Co., Inc., 50 F.3d 253, 262–63 (3d Cir. 1995)

(affirming lower court’s denial of improperly documented and inadequately detailed expenses).

The Court must disallow requests for compensation for services that were not reasonably likely to

benefit the debtor’s estate or were not necessary to the administration of the case. 11 U.S.C.

§330(a)(4)(A).

       Lastly, the Court has an independent burden to review fee applications “‘lest overreaching .

. . professionals drain [the estate] of wealth which by right should inure to the benefit of unsecured

creditors.’” In re Keene Corp., 205 B.R. 690, 695 (Bankr. S.D.N.Y. 1997) (quoting In re Busy

Beaver Bldg. Ctrs., Inc., 19 F.3d 833, 844 (3d Cir. 1994)); In re CCT Commc’ns, Inc., No. 07–

10210 (SMB), 2010 WL 3386947, *4 (Bankr. S.D.N.Y. Aug. 24, 2010); In re Value City

Holdings, Inc., 436 B.R. 300, 305 (Bankr. S.D.N.Y. 2010). Accordingly, courts serve a vitally

important gate-keeping role in enforcing the Code’s requirements that only reasonable fees be

approved and paid as well as maintaining public confidence in the bankruptcy system itself. In re

Temple Retirement Community, Inc., 97 B.R. 333, 337 (Bankr. W.D. Tex. 1989). “[T]he judiciary

should retain control of fees, given the sensitivities they generate and the need to promote public

confidence in the system.” In re Child World, Inc., 185 B.R. 14, 17 (Bankr. S.D.N.Y. 1995)

(citation omitted). In particular, “whether interim allowances are awarded, and in what amounts,


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[are] questions left by Congress to the sound discretion of the bankruptcy court.” In re Barron, 73

B.R. 812, 814 (Bankr. S.D. Cal. 1987); see, e.g., In re ACT Manufacturing, Inc., 281 B.R. 468,

474 (Bankr. D. Mass. 2002). At the interim fee stage, there is no legal entitlement or requirement

for payment prior to the final fee award. See In re Child World, Inc., 185 B.R. at 17.

B.     Z&Z Third Interim

       The Z&Z Second Interim contains fees totaling $22,404.30 for the months of March 2022

and April 2022 for 60.6 hours spent on the Committee’s Oceania POC Objection. ECF 610. The

United States Trustee acknowledges the length and detailed nature of the Oceania POC Objection,

but has some concerns about the cost of same. The United States Trustee raised this issue

preliminarily with Z&Z via email on May 26, 2022, but it was not resolved.

       The United States Trustee is unable to assess the reasonableness of the time spent and cost

of Oceania POC Objection at this time. The Z&Z Third Interim contains a paragraph discussing

the Oceania POC Objection, but the paragraph does not address the true cost of this objection

because it does not discuss or quantify earlier factual investigative/background work on this issue.

It is not clear how much time was spent on work toward this objection during the case that may

not have been described with specificity such that a review of the prior interim fee applications

would have noted it. Further, the Oceania POC Objection has not yet been adjudicated. The

United States Trustee thus raises a concern that the cost of the Oceania POC Objection may not be

reasonable, but suggests this issue be deferred for further discussion and consideration in

connection with the final fee application Z&Z will eventually file.




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                                         CONCLUSION

       WHEREFORE, for all the foregoing reasons discussed, the United States Trustee objects to

the fees requested by Z&Z relating to the Oceania POC Objection and reserves this objection for

further discussion and consideration in connection with the final fee application filed by Z&Z.


Dated: New Haven, Connecticut                Respectfully submitted,
       August 25, 2022
                                             WILLIAM K. HARRINGTON
                                             UNITED STATES TRUSTEE FOR REGION 2

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                                CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was sent on August 25, 2022 by the Court’s
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